Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 1 of 19 PageID #: 8



                                                              21-cv-1675
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 2 of 19 PageID #: 9
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 3 of 19 PageID #: 10
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 4 of 19 PageID #: 11
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 5 of 19 PageID #: 12
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 6 of 19 PageID #: 13
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 7 of 19 PageID #: 14
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 8 of 19 PageID #: 15
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 9 of 19 PageID #: 16
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 10 of 19 PageID #: 17
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 11 of 19 PageID #: 18
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 12 of 19 PageID #: 19
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 13 of 19 PageID #: 20
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 14 of 19 PageID #: 21
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 15 of 19 PageID #: 22
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 16 of 19 PageID #: 23
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 17 of 19 PageID #: 24
Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 18 of 19 PageID #: 25




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Case 5:21-cv-01675-DEW-MLH Document 1-3 Filed 06/14/21 Page 19 of 19 PageID #: 26
